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                                            THE CITY OF NEW YORK
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                                                                    October 31, 2017

       BY ECF
       Honorable Steven L. Tiscione
       United States Magistrate Judge
       United States District Court
       Eastern District of New York
       225 Cadman Plaza East
       Brooklyn, New York 11201

                      Re: Lashana Weaver v. Bentley Warrington
                          14-CV-7097 (ENV) (ST)

       Your Honor:

                     I am an Assistant Corporation Counsel in the Office of Zachary W. Carter,
       Corporation Counsel of the City of New York, representing defendant Bentley Warrington in the
       above-referenced matter. I write to respectfully request that the deadline for completion of fact
       discovery be extended to December 1, 2017 and that the deadline for beginning dispositive
       motion practice be extended until January 2, 2018.

                      The parties had planned to complete plaintiff’s deposition this week. However,
       when I called plaintiff yesterday to confirm, she informed me that she is currently in Florida for a
       funeral, and will not be back in New York at least until the end of the week. Accordingly, we
       have rescheduled plaintiff’s deposition to Monday, November 6, 2017.

                       Additionally, plaintiff has advised that she intends to depose the defendant as well
       as a non-party. Plaintiff further advises that she is still looking for a new attorney to take her
       case. Although plaintiff did not ultimately retain the last few attorneys that she spoke with,
       plaintiff advises that she is speaking another attorney who is interested in her case.

                     For the reasons discussed herein, the parties respectfully request that the deadline
       for completion of fact discovery be extended to December 1, 2017 and that the deadline for
       beginning dispositive motion practice be extended until January 2, 2018.
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            I think the Court for its time and consideration in this regard.

                                                           Respectfully submitted,



                                                           Matthew W. McQueen


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